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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Couvillion Group, LLC

v.                                               Case Number: 4:22−cv−00908

White Marlin Operating Company LLC,
et al.




                                 Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Magistrate Judge Andrew M Edison
LOCATION:
by video
Meeting Link:
https://www.zoomgov.com/j/1602127051?pwd=bkNnZzlUZGV5ZURuL3Z3amJia1Bkdz09
Meeting phone number: 646−828−7666
Meeting ID: 160 212 7051
Meeting Password: 502521


United States District Court
515 Rusk Street
Houston, TX 77002

DATE: 6/10/2022
TIME: 09:45 AM

TYPE OF PROCEEDING: Pre−Motion Conference
RE: Motion for Miscellaneous Relief − #15


Date: June 8, 2022                                           Nathan Ochsner, Clerk
